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                                                       Southern District of Texas
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                                                          February 28, 2024
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